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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HOT SPRINGS DIVISION

LISA COGBURN                                                                                 PLAINTIFF


v.                                      Civil No. 6:21-cv-06089

COMMISSIONER, SOCIAL                                                                      DEFENDANT
SECURITY ADMINISTRATION

                                                 ORDER

         Plaintiff has submitted a Complaint for filing in this District, together with a request for leave

to proceed in forma pauperis. ECF No 3. After review, it is found that Plaintiff is unable to pay for

the costs for commencement of suit, and accordingly,

         IT IS HEREBY ORDERED Plaintiff’s Motion For Leave to Proceed in forma pauperis

GRANTED. Additionally, the Court hereby directs that a copy of the Complaint filed herein, along

with a copy of this Order, be served by the Plaintiff by certified Mail, return receipt requested, on

the Defendant, Commissioner, Social Security Administration, the U.S. Attorney General, and the

Assistant U.S. Attorney, without prepayment of fees and costs or security therefore. The Defendant

is Ordered to answer within sixty (60) days from the date of service.

         IT IS SO ORDERED this 25th day of May 2021.




                                                          /s/ Barry A. Bryant
                                                          HON. BARRY A. BRYANT
                                                          U.S. MAGISTRATE JUDGE
